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                                          May 28, 2021

VIA CM/ECF & HAND DELIVERY
The Honorable Jennifer L. Hall
United States Magistrate Judge
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801                                  PUBLIC VERSION FILED: June 11, 2021

        Re:       3Shape A/S v. Align Technology, Inc., C.A. No. 18-886-LPS

Dear Judge Hall:

        Non-party Buchanan Ingersoll & Rooney PC (“Buchanan’) and
                respectfully submit this letter in response to Defendant Align Technology’s
(“Align”) Second Motion to Compel documents and information allegedly relevant to Align’s
unclean hands defense. Because some of the requested material is privileged, and because all of
the requested material is irrelevant and is outside the scope of any extant subpoena, Buchanan and
            oppose the motion.

I.      Align’s Accusations of Unclean Hands Are Not Supported By The Evidence.

        On April 27, 2020, when filing a motion to further amend its Complaint and Counterclaims,
Align accused                            of improperly accessing its confidential material and then
using that confidential material to amend 3Shape’s pending patent application to tailor the claim
to cover Align’s product. (D.I. 171). Over the next year, Align was permitted to take full and fair
discovery in pursuit of its claim. Documents were subpoenaed and produced, and                  and
a 30(b)(6) witness from Buchannan,                   were deposed.. Align was even granted leave
to have this Court examine in camera fifty of Buchanan’s privileged documents to determine
whether they might support its accusation. Ex. B. After all of this, there is zero evidence that
supports Align’s accusation that               improperly accessed its confidential material. The
reason for that is simple: it never happened.

        In fact, the discovery collected by Align only corroborated                      original
Declaration that he had “never reviewed, seen, discussed or sought to review, see or discuss any
Confidential Align Materials.” (D.I. 175 ¶ 18). Ex. A. Documents relevant to the instant matter
were stored, managed and maintained for Buchanan by Contact Discovery Services in its 3Shape
Relativity workspace, and also in Buchanan’s internal document management system. A search of
             account access history maintained by both systems showed that he never accessed
any documents produced by Align. Ex. C, Ex. D. at 10:2-5; 17:20-24; 51:20-57:8; 120:21-121:8). In
its response to Align’s subpoena Buchanan represented that after a thorough search (which
included                computer) it found no documents or communications relating to




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            “access, attempted access, or viewing of any of Align's Protected Material,” or to
“any meeting or discussion involving                         and relating to Protected Material
produced by Align.” Ex. E at 10-12; Ex. D at 123:5-124:9. And, of course, during his deposition
          himself repeatedly denied ever accessing Align’s confidential information or otherwise
being exposed to it. See Ex. F at 23:917; 31:1-10; 36:1-8; 40:18-23; 42:15-43:1; 62:8-14; 77:13-
78:13.

II.     The New Material Align Seeks To Support Its Speculative New Theory Is Irrelevant

        In tacit recognition that there is no evidence to support its original theory that
intentionally accessed Align’s confidential information, Align’s latest Motion to Compel rests
upon an entirely new story, which is that an unknown attorney at Buchanan might have unwittingly
shared Align’s confidential information with                during an unspecified conversation that
might have occurred at an unknown date and time, and that                        in turn might have
unwittingly used that confidential information to inform his amendments to the 3Shape’s pending
claim in some unknown way.1 Align tellingly fails to cite to this Court a single passage in the
depositions or a single document that supports that assertion. This leaves Align with nothing more
than conjecture that it was “inevitable” that                  heard some nameless confidential
information at some point. (D.I. 388 at 2.). There is no evidence to support this claim.

       Align’s Motion to Compel seeks leave to expand the scope of discovery to pursue its
speculative new theory. Rule 26(b)(1) prohibits discovery when “requested information is not
relevant ... if the inquiry is based on the party's mere suspicion or speculation.” Invensas Corp. v.
Renesas Elecs. Corp., 287 F.R.D. 273, 278 (D. Del. 2012) (quoting Micro Motion, Inc. v. Kane
Steel Co., Inc., 894 F.2d 1318, 1326 (Fed. Cir. 1990). Because Align has cited no evidence that
supports its new theory, discovery in support of it must be denied as irrelevant.

III.  There Is No Existing Subpoena That Compels The Production Of “The Dates And
Attendees Of The Meetings” Referenced In           Deposition.

        Rule 45 only requires the production of those documents that are specifically requested
by subpoena. Fed. R. Civ. P. 45(a)(1)(iii). As acknowledged by Align, the subpoena that it now
seeks to enforce commanded Buchanan to produce “all Documents and Communications related
to any meeting or discussion involving                    and relating to Protected Material
produced by Align.” D.I. 388 at 2 (emphasis added). On September 4, 2020, Buchanan fully
responded to this request by advising Align that “no such documents or communications
existed.” Ex E. at 11. Align now seeks to expand its request to include documents or
communications pertaining to any meeting               might have attended it with any attorney
who was working on the 3Shape / Align litigation, regardless of what was discussed. Align’s
new request is far beyond the bounds of what it requested in the extant subpoena. Align a cannot
compel the production of information that it has not previously subpoenaed based upon

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  Align has never so much as hinted, even in broad terms, as to which of its confidential
documents, or how its confidential information, might have been used to amend 3Shape’s patent
claim. Ex. D at 124:11-125:10.



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unfounded speculation that it might support its brand-new theory. For that reason alone, the
Motion to Compel must be denied.

IV.   Align’s Attempt To Greatly Expand The Scope Of Non-Party Buchanan’s Discovery
Obligations Is Not Proportional And Is Unduly Burdensome.

        A simple list of the dates and attendees of all 3Shape / Align litigation meetings possibly
attended by              cannot conceivably constitute evidence of Align’s new theory that its
confidential information might have been discussed by an unknown person in
presence. Therefore, there can be no doubt that Align’s request for this information is nothing
more than the first step down a new and long road in the discovery process that will inevitably
include new document requests and new deposition subpoenas. This is exactly the unduly
burdensome expansion of discovery that was presaged by counsel for Buchanan during the
February 25, 2021 hearing on Align’s first Motion to Compel, and which Your Honor hoped to
prevent. Ex B. at 29:2-13. Buchanan’s non-party status “may be considered by the court in
weighing the burdens imposed in the circumstances.” Syngenta Crop Prot., LLC v. Willowood,
LLC, 2016 WL 4925099, at *2 (D. Del. Sept. 14, 2016). Moreover, collecting the meeting
invites is not a simple matter. Each of                 calendar invites would have to be reviewed
individually to determine if it is related to the Align / 3Shape litigation. Those burdens,
especially given the entirely speculative nature of the theory now being pursued by Align, weigh
decisively in favor of denying Align’s motion.

V.  Align’s Renewed Attempt To Compel Buchanan To Disclose Privileged
Communications Must Be Denied.

         Align repeatedly asked Buchanan’s 30(b)(6) witness,                  whether there were
discussions about how Align’s iTero product worked during meetings of the 3Shape / Align
litigation team that             might have attended. See Ex D. at 90:6– 93:3; 103:25-106:13.
After a timely privilege objection, on each occasion counsel for Align clarified that the question
was intended to be broader than a request for information about whether Align’s confidential
information was discussed, and was instead intended to cover any discussion about Align’s product
regardless of the source of the information. Id. at 93:10; 104:8. There are, of course, multiple
possible sources of information about the working of Align’s iTero product that are wholly
unrelated to Align’s confidential information. It is obvious that some of those sources, such as
information potentially conveyed to Buchanan by 3Shape or potentially developed by Buchanan’s
attorneys through their analysis of publicly-available information, would be privileged or work
product. In response, all Align offers the Court is another attempt to invoke the “sword/shield”
doctrine that has already been rejected by the Court in this matter. Ex. B at 43:13- 44:1. Once
again, the issue of what might have been discussed about Align’s products in              presence
was interjected into this case by Align, and Buchanan is in no way attempting to rely offensively
upon those privileged communications. See D.I. 352 at 2-3.

       For these reasons, non-party Buchanan respectfully request that the Court deny Align’s
motion to compel.




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Respectfully Submitted,

/s/ Steven P. Wood

Steven P. Wood, Esq. (#2309)

cc:     All Counsel (via CM/ECF)




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                   EXHIBIT A
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                    EXHIBIT B
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                    EXHIBIT C
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                    EXHIBIT D
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                    EXHIBIT E
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                                 CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that true and correct copies of the foregoing

 document were caused to be served on May 28, 2021 on the following counsel in the manner

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